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                                         OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT          UNITED STATES COURT OF APPEALS                TELEPHONE
                                          FOR THE THIRD CIRCUIT              215-597-2995
         CLERK                      21400 UNITED STATES COURTHOUSE
                                           601 MARKET STREET
                                       PHILADELPHIA, PA 19106-1790
                                   Website: www.ca3.uscourts.gov

                                          January 6, 2022


Jeffrey P. Goodman, Esq.
Robert J. Mongeluzzi, Esq.
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1650 Market Street
One Liberty Place, 52nd Floor
Philadelphia, PA 19103


RE: Renata Barker v. Tyson Foods Inc, et al
Case Number: 22-1039
District Court Case Number: 2-21-cv-00223

PACER account holders are required to promptly inform the PACER Service
Center of any contact information changes. In order to not delay providing notice to
attorneys or pro se public filers, your information, including address, phone
number and/or email address, may have been updated in the Third Circuit
database. Changes at the local level will not be reflected at PACER. Public filers are
encouraged to review their information on file with PACER and update if
necessary.


To All Parties:

Attorneys are required to file all documents electronically through the Court's
Electronic Case Filing System. See 3d Cir. L.A.R. 113 and the Court's website at
www.ca3.uscourts.gov/cmecf-case-managementelectronic-case-files.

Enclosed is case opening information regarding the above-captioned appeal filed by
Renata Barker, docketed at No. 22-1039. All inquiries should be directed to your Case
Manager in writing or by calling the Clerk's Office at 215-597-2995. This Court's rules,
forms, and case information are available on our website at http://www.ca3.uscourts.gov.
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On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were
amended modifying deadlines and calculation of time. In particular those motions
which will toll the time for filing a notice of appeal under Fed.R.App.P. 4(a)(4),
other than a motion for attorney's fees under Fed.R.Civ.P. 54, will be considered
timely if filed no later than 28 days after the entry of judgment. Should a party file
one of the motions listed in Fed.R.App.P 4(a)(4) after a notice of appeal has been
filed, that party must immediately inform the Clerk of the Court of Appeals in
writing of the date and type of motion that was filed. The case in the court of
appeals will not be stayed absent such notification.

Payment of fees is required upon filing a Notice of Appeal from a District Court decision
unless you are exempt by order of the Court. All fees are to be paid to the District Court.
The following fees are currently unpaid:

$5.00 District Court filing fee
$500.00 Court of Appeals docket fee

Both fees must be paid within fourteen (14) days of the date of this letter.

Counsel for Appellant

As counsel for Appellant(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Civil Information Statement
4. Disclosure Statement (except governmental entities)
5. Concise Summary of the Case
6. Transcript Purchase Order Form.
These forms must be filed within fourteen (14) days of the date of this letter.

Failure of Appellant(s) to comply with any of these requirements by the deadline
will result in the DISMISSAL of the case without further notice. 3rd Circuit LAR
Misc. 107.2.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Disclosure Statement (except governmental entities)
These forms must be filed within fourteen (14) days of the date of this letter.
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Parties who do not intend to participate in the appeal must notify the Court in writing.
This notice must be served on all parties.

Attached is a copy of the full caption in this matter as it is titled in the district court.
Please review the caption carefully and promptly advise this office in writing of any
discrepancies.


Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Alicia
Case Manager
267-299-4948



Cc: William H. Catto, Esq.
Christopher S. Coleman, Esq.
Jessica L. Everett-Garica, Esq.
Erin E. Lamb, Esq.
